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                     EXHIBIT G
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                                                                                                                                            LarsonP3000154
To: Yael Goldstein                                                                                                                                                         CD
                                                                                                               The Globe is definitely running a story- could be very soon

                                                                                                                                                  I'm so sorry about all this

                                                                                                             But am getting ready to ride this wave, wherever it may lead ...

Wow

Why are they running this story???

Maybe the angle will be life imitating art! Here's hoping

                                                                                                                                                 Good god- I have no idea

                                                                                                                                                    I'm imagining the worst

                                                                                                                                         LOCAL AUTHOR IS A PLAGIARIST

                                                                                                                                         But who the hell knows- we'll see

The globe can't possibly think that amounts to plagiarism

                                                                                                                                                      I mean, I don't know...

                                                                                                      But even so, says my lawyer, it doesn't matter- it's all been changed

If it hasn't been changed would it matter? I mean, even if you use some of her language how is that
plagiarism?

*hadn't

                                                                                                                                                    A very good question!!!

                                                                                           Because I made a wholly fictional work out of it. This is what fiction writers DO

                                                                                                                We're always dropping in real-life language, snippets, etc!!

Exactly

                                                                                                                                    It is SO affirming to hear that you agree

                                                                                                                                                        Because serious!
